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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

  DIONNE YOUNCE and KENNETH
  W. GREENE,

        Plaintiffs,

  v.                                               Case No. 3:22-cv-931-TJC-PDB

  CITY OF JACKSONVILLE, a
  Florida municipal corporation,

        Defendant.


                                      ORDER

        This case comes before the Court on Plaintiffs Dionne Yonce and Kenneth

  W. Green’s Motion for Preliminary Injunction filed on August 26, 2022. (Doc. 2).

  It is hereby

        ORDERED:

        1.       No later than September 7, 2022, Plaintiffs shall file a proposed

  Order pursuant to Local Rule 6.02. Plaintiffs shall also email a copy of the

  proposed Order in Word format to chambers_flmd_corrigan@flmd.uscourts.gov.

        2.       No later than September 14, 2022, Defendant shall file a response

  to the Motion for Preliminary Injunction.

        3.       The Court has reserved September 22, 2022, at 10:00 A.M. for a

  non-evidentiary     IN-PERSON       HEARING      on   the   matter   before   the
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  undersigned in the United States Courthouse, Courtroom 10D, 300 North

  Hogan Street, Jacksonville, Florida. 1 The Court may rule on the motion prior

  to the hearing date; but, unless otherwise ordered, counsel should plan to attend

  the hearing.

          DONE AND ORDERED in Jacksonville, Florida the 31st day of August,

  2022.




  rmv
  Copies:

  Counsel of record




          All persons entering the Courthouse must present photo identification
          1

  to Court Security Officers. Although cell phones, laptop computers, and similar
  electronic devices generally are not permitted in the building, attorneys may
  bring those items with them to the extent permitted by Local Rule 7.02. The
  parties are also advised to consult the Court’s current coronavirus protocols,
  which are posted on the Court’s website, www.flmd.uscourts.gov.

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